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                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF ILLINOIS

  IN RE: HAIR RELAXER
                                                                 MDL No. 3060
  MARKETING, SALES PRACTICES,
                                                                 Master Docket Case No. 1:23-cv-00818
  AND PRODUCTS LIABILITY
                                                                 Honorable Mary M. Rowland
  LITIGATION


  Mary C Jackson
                                                                 SHORT-FORM COMPLAINT AND JURY
                                                                 DEMAND
  v.
  Strength of Nature, LLC., Godrej SON Holdings, Inc., L’Oréal
  USA Inc., L’Oréal USA Products, Inc., SoftSheen-Carson
  LLC., Beauty Bell Enterprises LLC f/k/a House of Cheatham,
                                                                 Civil Action No.
  Inc., House of Cheatham LLC., Luster Products, Inc.
                                                                 1:25-cv-00268



        1.        Plaintiff(s)/Injured Party/Decedent (hereinafter, “Plaintiff(s)”) incorporate by

 reference Plaintiffs’ Master Long Form Complaint in In Re: Hair Relaxer Marketing, Sales

 Practices and Products Liability Litigation, MDL 3060, filed as of May 15, 2023, as Document

 Number 106.

        2.                              Mary C Jackson
                  Plaintiff(s),______________________________, file(s) this Complaint pursuant

to CMO No. 2 and is to be bound by the rights, protections and privileges, and obligations of that

CMO and other Orders of the Court. Further, in accordance with CMO No. 2, Plaintiff(s) hereby
                                                                        Northern District of Georgia
designate(s) the United States District Court for the ____________________ as Plaintiff’s

designated venue (“Original Venue”). Plaintiff makes this selection based upon one (or more) of

the following factors (please check the appropriate box(es)):

         ✔                                                 Fayetteville, GA
                  Plaintiff currently resides in _________________________________(City/State);

                  Plaintiff purchased and used Defendant(s)’ products in ______________________
                  (City/State);

                  The Original Venue is a judicial district in which Defendant _____________
                  resides, and all defendants are residents of the State in which the district is located
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                     _________________________________________________________________.


          9.         Approximate date(s) of diagnosis (injury(ies)), if applicable at this time, that
                                                            on or about March 3, 2020 but Plaintiff did not know the link between her hair
form(s) the basis of Plaintiff’s claim(s): _____________________________________________
relaxer use and her cancer diagnosis until she saw an advertisement linking the hair relaxer use to her diagnosis on or about January 12, 2023
_____________________________________________________________________________.

          CAUSES OF ACTION AND THEORIES OF RECOVERY ADOPTED AND
                       INCORPORATED IN THIS LAWSUIT

          10.          Plaintiff(s) hereby adopt(s) and incorporate(s) by reference as if set forth fully

herein, all common factual allegations contained in paragraphs 1 through 114 of the Master Long

Form Complaint on file with the Clerk of the Court for the United States District Court for the

Northern District of Illinois in the matter entitled In Re: Hair Relaxer Marketing, Sales Practices,

and Products Liability Litigation, MDL No. 3060.

          11.          Plaintiff(s) hereby adopt(s) and incorporate(s) by reference as if set forth fully

herein, the following Causes of Action and the Prayer for Relief within the Master Long Form

Complaint on file with the Clerk of the Court for the United States District Court for the Northern

District of Illinois in the matter entitled In Re: Hair Relaxer Marketing, Sales Practices, and

Products Liability Litigation, MDL No. 3060:

               ✔       Count I – Negligence and/or Gross Negligence

                       Count II – Negligent Misrepresentation

               ✔       Count III – Negligence Per Se

               ✔       Count IV – Strict Liability: Design Defect

            ✔          Count V – Strict Liability: Failure to Warn

            ✔          Count VI – Breach of Implied Warranty of Merchantability/ Fitness for a
                       Particular Use

            ✔          Count VII – Breach of Express Warranty under state law and the Magnuson-

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                Moss Warranty Act, 15 U.S.C. § 2301 et seq.

                Count VIII – Fraud/ Fraudulent Misrepresentation

                Count IX – Fraudulent Concealment

         ✔      Count X – U.S. State and Territory Statutory Consumer Protection and Unfair or
                Deceptive Trade Practices Claims (Excluding Fraud Claims)

         ✔      Count XI – Unjust Enrichment ]

                Count XII – Wrongful Death

                Count XIII – Survival Action

                Count XIV – Loss of Consortium

         ✔      Count XV – Punitive Damages

                Other Causes of Action:

                _________________________________________________________________

                _________________________________________________________________

                ________________________________________________________________.


       12.      Consortium Claim(s) (if applicable): The following individual(s) allege(s)

damages for loss of consortium:
N/A
_____________________________________________________________________________.

       13.      Survival and/or Wrongful Death Claim(s) (if applicable): The following

individual(s)     allege(s)     damages        for      survival      and/or    wrongful     death:
N/A
_____________________________________________________________________________.

                                         JURY DEMAND

      Plaintiff(s) demand(s) a trial by jury as to all claims in this action.




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